 

 

Case 5:04-CV-00825-GLS-DEP Document 4 Filed 08/20/04 Page 1 of 2

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

 

)
ASBESTOS WORKERS SYRACUSE PENSION FUND, )
by Thomas Davitt, l]I, and Charlotte Buskey, as Trustees, )
)
Plaintiffs, )
-against- )
)
DELORES A. WELLS ) Civil Action No.
) 04-CV-0825 (GLS/DEP)
Defendant. )
)
CERTIFICATE 0F SERVICE

I, DANIEL R. BRICE, an attorney at law and an associate with the law firm of Blitrnan & King

LLP, attorneys for the Plaintiff in the above-entitled action, hereby certify that on the 20th day of August

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I electronically filed this Certificate of Service with the Clerk of the District Court using the CM/ECF
system. I further certify that on July 19, 2004 I served a copy of the Summons and Complaint upon the
United States Secretary of Labor and the United States Secretary of the Treasury, by depositing true

copies of the same in the United States mail, postpaid, certified, return receipt requested, and addressed

to them at their last known addresses, to wit:

Honorable Elaine L. Chao
Secretary of Labor

United States Department of Labor
Room S-2018

200 Constitution Avenue, N.W.
Washington, D.C. 20210

 

 

 

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Dated: August 20, 2004

(glv\dek\lit\wens\cosr)

Honorable John Snow

Secretary of the Treasury

United States Treasury Department
1500 Pennsylvania Avenue, N.W.
Washington, D.C. 20224

BLITMAN & KING LLP

s/Daniel R. Brice

Daniel R. Brice, of Counsel

Bar Roll No. 512491

Attomeys for Plaintiff

Offlce and Post Office Address

443 North Franklin Street, Suite 300
Syracuse, New York 13204-1415
Telephone: (315) 422-71 l 1
Facsimile: (315) 471-2623

E-mail: drbrice@bklawyers.com

 

